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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - -X
PATRICIA CUMMINGS,

                              Plaintiff,                                                            Docket No.
                                                                                                    19-cv-07723
          -against-

THE CITY OF NEW YORK; NEW YORK CITY
DEPARTMENT OF EDUCATION; CITY OF NEW YORK
OFFICE OF SPECIAL INVESTIGATIONS; NYC MAYOR
BILL de BLASIO; GIULIA COX; COURTNEY WARE; BEN
CHAPMAN; NEW YORK DAILY NEWS; DR. ANDRE PERRY;
THE HECHINGER REPORT a/k/a HECHINGER INSTITUTE ON
EDUCATION AND THE MEDIA; LENARD LARRY McKELVEY
a/k/a CHARLAMAGNE THA GOD; WWPR-FM (105.1 MHZ);
iHEARTMEDIA; CLEAR CHANNEL COMMUNICATIONS, INC.;
NEW YORK STATE SENATOR, KEVIN S. PARKER; COUNCILMAN,
JUMAANE D. WILLIAMS; COUNCILMAN, DANIEL DROMM;
COALITION OF EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
NATASHA CAPERS, and “JOHN DOE AND JANE DOE # 1-100”
said names being fictitious, it being the intent of Plaintiff to designate
any and all individuals, officers, members, agents, servants, and/or
employees of the aforementioned agencies owing a duty of care to
Plaintiff, individually and jointly and severally, Defendants
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - X

                                                NOTICE OF MOTION

          PLEASE TAKE NOTICE that, upon the annexed Memorandum of Law, Declaration of

James Rosenfeld dated June 25, 2020, and all exhibits annexed thereto, Defendants Daily News

L.P. (incorrectly sued as “New York Daily News”) and Ben Chapman, by and through their

undersigned counsel, will move this Court before the Honorable Colleen McMahon, at the United

States Courthouse for the Southern District of New York, 500 Pearl St., New York, NY for an

order granting a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6).

          Plaintiff’s opposition papers must be submitted by July 9, 2020, and Defendants’ reply

papers must be submitted by July 16, 2020.
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Dated: June 25, 2020

                                          Respectfully submitted,

                                          DAVIS WRIGHT TREMAINE LLP

                                          By: /s/ James Rosenfeld

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                                          Ben Chapman

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